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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                 Case No.: 1:19-cv-20437-MGC


  TROPICAL PARADISE RESORTS,
  LLC d/b/a Roadway Inn & Suites,

         Plaintiff,
  vs.

  ROCKHILL INSURANCE COMPANY,

        Defendant.
  __________________________________/

          PLAINTIFF’S STATEMENT OF UNDISPUTED MATERIAL FACTS
        IN SUPPORT OF PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

         COMES NOW, Plaintiff, Tropical Paradise Resorts, LLC d/b/a Roadway Inn &

  Suites, and pursuant to S.D. Fla. L.R. 56.1(a), hereby provides its Statement of Undisputed

  Material Facts in Support of Plaintiff’s Motion for Summary Judgment and states as follows:

         1.      At all material times, the Plaintiff entered into an insurance contract with the

  Defendant insurer bearing policy number RCPPRU000245-00 (the “Policy”), which provided

  windstorm property insurance for the Plaintiff’s hotel property located at 2440 W. State Road

  84, Dania Beach, FL 33312 (the “Property”) for the policy period of April 30, 2017 through

  April 30, 2018. (D.E. 1-4, Ans. Aff. Def. p. 7).

         2.      The Policy is an all-risk policy which is a policy for windstorm and resulting

  business interruption for the Plaintiff’s hotel complex (D.E. 9 p.8, ¶5)

         3.      On or about September 10, 2017, Hurricane Irma made landfall and caused

  widespread damage around Florida.
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         4.       On or about September 14, 2017, Plaintiff notified and presented a claim to the

  Insurer for its loss and damages to the Property. Following Hurricane Irma’s impact, the

  Insurer acknowledged receipt of the Plaintiff’s insurance claim and assigned a pre-suit claim

  number (D.E. 1-5, p. 2, ¶4).

         5.       The Insurer conducted an inspection of the Property through adjuster, Michael

  Nimon, of Engle Martin and the subsequent inspection by engineer, Mike Brown. Based on

  the inspection, the Insurer concluded that the Property sustained no direct physical wind

  damage and any wind driven rain “entered the building through pre-existing roof, door and

  window openings caused by long term deterioration.” See Insurer’s Denial Letter, dated May

  4, 2018 annexed hereto as Exhibit “B”. (D.E. 10-2).

         6.       To date, the Insurer has refused to pay any monies for Plaintiff’s hurricane

  damages. (D.E. 9, p. 19, ¶17).

         7.       Plaintiff is the sole title holder of the insured property located at 2440 W State

  Road 84, Dania Beach, FL 33312. See Affidavit of Esther Fintz attached as Exhibit “C” to

  Plaintiff’s Motion for Partial Summary Judgment.

         8.       In accordance with the Assignment of Lawsuit Proceeds duly executed on

  April 11, 2019, the US Small Business Administration shall have no responsibility to

  prosecute the instant action and it is the responsibility of Plaintiff. See Affidavit of Esther

  Fintz attached as Exhibit “C” to Plaintiff’s Motion for Partial Summary Judgment.

         9.       Rockhill Insurance served affirmative defenses to the Plaintiff’s complaint.

  (D.E. 9, p. 10-16.).

         10.      In the first affirmative defenses, the Insurance Company pleads the following:

               As its First Affirmative Defense, Defendant asserts that the Plaintiff made
               repairs to the subject property prior to Defendant’s inspection of the subject

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               property thereby failing to show all of the claimed damaged property. The
               Policy provides as follows:

               Building and Personal Property Coverage Form CP 00 10
               06 07
               E. Loss Conditions
               The following conditions apply in addition to the Common
               Policy Conditions and the Commercial Property Conditions.

               ****
               3. Duties In The Event Of Loss Or Damage

               You must see that the following are done in the event of loss
               or damage to Covered Property:

               ****
               (6) As often as may be reasonably required, permit us to
               inspect the property proving the loss or damage and examine
               your books and records. Also permit us to take samples of
               damaged and undamaged property for inspection, testing and
               analysis, and permit us to make copies from your books and
               records.

  (D.E. 9, p. 10).

         11.      In the second affirmative defense, the Insurance Company pleads as follows:
                  As its Second Affirmative Defense, Defendant asserts that the Plaintiff failed
                  to show the claimed damaged property proving the loss or damage thereby
                  failing to cooperate. The Policy specifically provides:

               Building and Personal Property Coverage Form CP 00 10
               06 07
               E. Loss Conditions
               The following conditions apply in addition to the Common
               Policy Conditions and the Commercial Property Conditions.

               ****
               3. Duties In The Event Of Loss Or Damage
               You must see that the following are done in the event of loss
               or damage to Covered Property:

               ****
               (8) Cooperate with us in the investigation or settlement of the claim.


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  (D.E. 9, p. 10).

         12.     In the fifth affirmative defenses, the Insurance Company pleads the following:
                 As its Fifth Affirmative Defense, Rockhill asserts some of the claimed damages to the
                 subject properties for which recovery is being sought were the result of wear and
                 tear, deterioration and decay which are specifically excluded under the terms and
                 provision of the subject Policy. The Policy provides in pertinent part as follows:

                     CAUSES OF LOSS-SPECIAL FORM CP 10 30 06 07

                     1. We will not pay for loss or damage caused by or
                     resulting from any of the following:
                     c. (1) Wear and tear;
                     (1) Rust or other corrosion, decay, deterioration,
                     hidden or latent defect or any quality in property
                     that causes it to damage or destroy itself[.]

  (D.E. 9, pp. 12-13).

         13.     In the sixth affirmative defense, the Insurance Company pleads the following:
                 As its Sixth Affirmative Defense, Rockhill asserts that the some of the claimed
                 damages to the subject property for which recovery is being sought were the result
                 of faulty, inadequate or defective repairs and maintenance and are therefore, not
                 covered. The Policy provides as follows:

                     CAUSES OF LOSS-SPECIAL FORM CP 10 30 06 07

                     2. We will not pay for loss or damage caused by or
                     resulting from any of the following, 3.a. through 3.c.
                     But if an excluded cause of loss that is listed in 3.a.
                     through 3.c. results in a Covered Cause of Loss, we
                     will pay for the loss or damage caused by that Covered
                     Cause of Loss.
                     c. Faulty, inadequate or defective:
                     (1) Planning, zoning, development, surveying, siting;
                     (2) Design, specifications, workmanship, repair,
                     construction, renovation, remodeling, grading,
                     compaction;
                     (3) Materials used in repair, construction,
                     renovation or remodeling; or
                     (4) Maintenance;
                     of part or all of any property on or off the
                     described premises.


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  (D.E. 9, p. 13).

         14.     The Insurance Company’s Tenth Affirmative Defense states:

                 As its Tenth Affirmative Defense, Defendant asserts that Plaintiff’s lawsuit is
                 barred because Plaintiff failed to join the remaining named insureds who
                 would be indispensable parties: EZ Hospitality LLC, Forgot Something Gift
                 Shop, Marina 84 Sports Bar and Grill, Kanti Group, Roadway Inn & Suites,
                 Triangle Management LLC.

  (D.E. 9, pp. 15-16).

         15.     The Insurance Company’s Eleventh Affirmative Defense states:

                 As its Eleventh Affirmative Defense, Defendant asserts that the Plaintiff’s
                 lawsuit is barred because to the extent coverage is afforded in this lawsuit, the
                 Plaintiff lacks standing to recover for any damages resulting from the reported
                 Hurricane Irma Loss pursuant to its Assignment of Benefits entered into with
                 the U.S. Small Business Administration.
  (D.E. 9, p. 16).

                                 CERTIFICATE OF SERVICE
         I HEREBY CERTIFY a true and correct copy of was filed with the Clerk of this Court
  via the CM/ECF filing and that a copy has been sent via electronic mail this 18th day of
  November, 2019 to: Karl E. Sturge, Esq., Marlow, Adler, Abrams, Newman & Lewis, 4000
  Ponce de Leon Boulevard, #570, Coral Gables, FL 33146, ksturge@marlowadler.com and
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                                              By:__/s/ Craig M. Greene, Esq._________
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                                     And

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